Case 1:22-cv-01043-APM   Document 167-1   Filed 02/06/25   Page 1 of 3




              EXHIBIT 1
      Case 1:22-cv-01043-APM           Document 167-1        Filed 02/06/25      Page 2 of 3




                                                             EXHIBIT 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER                   *
CORPORATION (AMTRAK),
                                              *        CIVILACTIONNO.1:22-cv-01043
       PLAINTIFF,
                                              *
V.
                                              *
SUBLEASE INTEREST OBTAINED PURSUANT
TO AN ASSIGNMENT AND ASSUMPTION OF *
LEASEHOLD INTEREST, et al.
                                              *
       DEFENDANTS.
                                             *
*      *       *       *      *       *      *         *     *       *      *          *   *   *

                                      CONSENT ORDER

       Upon the request of Plaintiff, National Railroad Passenger Corporation ("Amtrak") and

Defendants Union Station Investco, LLC ("USI") and Kookmin Bank Co., LTD., individually and

in its capacity as trustee of KTB CRE Debt Fund No. 8, a Korean Investment Trust ("Kookmin"),

together with its agent on behalf the trust in Korea, Daol Fund Management Co. ("Daol Fund")

and its agent on behalf of the trust in the United States, Rexmark Holdings LLC d/b/a/ Rexmark

(Rexmark"), with AMTRAK, USI, KOOKMIN, Daol Fund and Rexmark being collectively

referred to as the "Parties," having represented to this Court that they have resolved among

themselves all issues relating to this proceeding by way of agreement, it is hereby:

       ORDERED,       that because Union Station Sole Member LLC ("USSM") does not hold a

ownership interest in the Subject Property Interest and because USI and Kookmin have withdrawn

any objections to the taking to Amtrak's exercise and use of its eminent domain powers,

specifically 49 U.S.C. §24311, to acquire the Subject Property Interest that US! obtained from
                                                  12
     Case 1:22-cv-01043-APM            Document 167-1         Filed 02/06/25     Page 3 of 3




Union Station Venture II, LLC by an Assignment and Assumption of Leasehold Interest made as

of January 25, 2007 (the "Subject Property Interest"), the Court finds that absolute title to the

Subject Property Interest vested in Amtrak free and discharged of all claims and liens of every

kind whatsoever as of the date of April 14, 2022, ; and it is further

          ORDERED, with Kookmin having the right to retain the amounts previously withdrawn

from the registry of the Court, Judgment is entered against plaintiff Amtrak and in favor of

Kookmin and Union Station Investco, LLC in the amount of $255,000,000, which is the total

amount of additional just compensation and any interest through the date of the entry of this

Order, and payment for all related claims. The terms of the payment of the Judgment have been

agreed to by the parties, Within five days after payment of the Judgment as agreed, Lender and

USI are ordered to file a Satisfaction of Judgment.

          ORDERED, that all other claims and defenses are dismissed; and it is further

          ORDERED, that any pending motions are denied as moot; and it is further

          ORDERED, each party shall bear its own costs, expenses and attorney's fees; and it is

further

          ORDERED, the Court will retain jurisdiction to address any issues under the separate

settlement agreement.

          It is SO ORDERED this _ _ day of _ _, 2025.


                                                      Amit P. Mehta
                                                      United States District Court




                                                 13
